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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-60056-CIV-ALTMAN/Hunt

  VIRGINIA ALDANA ALASTRA,

        Plaintiff,
  v.

  BCA FINANCIAL SERVICES, INC., et al.,

        Defendants.

  _________________________________________/


                                              ORDER

        The parties have filed a Joint Stipulation of Dismissal with Prejudice [ECF No. 76]. The Court

  hereby ORDERS AND ADJUDGES as follows:

        1. The above-styled action is administratively CLOSED.

        2. If the parties fail to complete the expected settlement, any party may ask the Court to

             reopen the case.

        3. All pending deadlines and hearings are TERMINATED, and any pending motions are

             DENIED AS MOOT.

        4. This matter is DISMISSED with prejudice. Each party shall bear its own fees and costs,

             except as otherwise agreed to.

        DONE AND ORDERED in Fort Lauderdale, Florida this 24th day of May 2021.



                                                      _________________________________
                                                      ROY K. ALTMAN
                                                      UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
